              Case 2:22-cv-00247-TOR                  ECF No. 8          filed 01/27/23    PageID.24 Page 1 of 1
AO 450 (Rev. 11/11) Judgment in a Civil Action


                                         UNITED STATES DISTRICT COURT                                               FILED IN THE
                                                                                                                U.S. DISTRICT COURT
                                                                  for the_                                EASTERN DISTRICT OF WASHINGTON
                                                     Eastern District of Washington
                                                                                                              Jan 27, 2023
                                                                                                               SEAN F. MCAVOY, CLERK
                  MALIKA-MBELE DUKE,                                 )
                             Plaintiff                               )
                                v.                                   )        Civil Action No. 2:22-CV-0247-TOR
                                                                     )
      CHRISTOPHER ALAN MONTGOMERY,
    JOHN OLSON, STEVENS COUNTY and STATE                             )
              OF WASHINGTON,
                            Defendant

                                             JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

’ the plaintiff (name)                                                                                        recover from the
defendant (name)                                                                                                 the amount of
                                                                            dollars ($              ), which includes prejudgment
interest at the rate of                   %, plus post judgment interest at the rate of            % per annum, along with costs.

’ the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                 recover costs from the plaintiff (name)
                                          .

✔ other: This action is DISMISSED without prejudice for failing to pay the filing fee or filing a properly completed Application
’
              to Proceed In Forma Pauperis.




This action was (check one):
’ tried by a jury with Judge                                                                         presiding, and the jury has
rendered a verdict.

’ tried by Judge                                                                          without a jury and the above decision
was reached.

✔
’ decided by Judge              THOMAS O. RICE.




Date: January 27, 2023                                                       CLERK OF COURT

                                                                             SEAN F. McAVOY

                                                                             s/ Linda L. Hansen
                                                                                          (By) Deputy Clerk

                                                                             Linda L. Hansen
